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                                                        - 999 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                          FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                                        Cite as 297 Neb. 999



                          Frenchman-Cambridge Irrigation District, by              its
                             Board of Directors, a Nebraska political
                             subdivision, appellant and cross-appellee,
                               v. Nebraska Department of Natural
                                    R esources et al., appellees
                                       and cross-appellants.
                                                   ___ N.W.2d ___

                                        Filed October 6, 2017.    No. S-16-1121.

                1.	 Motions to Dismiss: Pleadings: Appeal and Error. A district court’s
                    grant of a motion to dismiss on the pleadings is reviewed de novo,
                    accepting the allegations in the complaint as true and drawing all rea-
                    sonable inferences in favor of the nonmoving party.
                2.	 Jurisdiction: Appeal and Error. Before proceeding to the legal issues
                    presented for review, it is the duty of an appellate court to determine
                    whether it has jurisdiction over the matter before it.
                3.	 Actions: Jurisdiction. Lack of subject matter jurisdiction may be raised
                    at any time by any party or by the court sua sponte.
                4.	 Appeal and Error. An appellate court is not obligated to engage in an
                    analysis that is not necessary to adjudicate the case and controversy
                    before it.
                5.	 Standing: Proof. To have standing, a litigant first must clearly demon-
                    strate that it has suffered an injury in fact. That injury must be concrete
                    in both a qualitative and temporal sense.
                6.	 Complaints: Justiciable Issues. A complainant must allege an injury
                    to itself that is distinct and palpable, as opposed to merely abstract,
                    and the alleged harm must be actual or imminent, not conjectural
                    or hypothetical.

                 Appeal from the District Court for Furnas County: James E.
               Doyle IV, Judge. Vacated and dismissed.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
           FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                         Cite as 297 Neb. 999
  David A. Domina and Christian T. Williams, of Domina Law
Group, P.C., L.L.O., for appellant.

  Douglas J. Peterson, Attorney General, Justin D. Lavene,
Joshua E. Dethlefsen, and Kathleen A. Miller for appellees.

  Heavican, C.J., Wright, Miller-Lerman, Cassel, K elch,
and Funke, JJ.

      K elch, J.
                      NATURE OF CASE
   Frenchman-Cambridge Irrigation District (FCID) appeals
the district court’s order dismissing its petition under Neb.
Ct. R. Pldg. § 6-1112(b)(6) for failure to state a claim upon
which relief can be granted. Before determining whether
the district court’s dismissal of the petition was proper, this
court must determine whether FCID has standing to chal-
lenge the integrated management plans at issue and whether
the court has subject matter jurisdiction pursuant to Neb. Rev.
Stat. § 46-750 (Reissue 2010) or Neb. Rev. Stat. § 84-911(1)
(Reissue 2014).

                         BACKGROUND
   FCID is a political subdivision created pursuant to the
irrigation districts statutes,1 under which FCID is authorized
to enter into contracts to supply water for irrigation pur-
poses with any person and with certain organizations within
its district.2 According to its petition, FCID uses the rev-
enue from its sale of water to fulfill contractual obligations
to the U.S. Department of the Interior and the U.S. Bureau
of Reclamation.
   FCID is located within the Republican River Basin. The
portion of the basin located in Nebraska is divided into three

 1	
      See Neb. Rev. Stat. § 46-101 et seq. (Reissue 2010 &amp; Cum. Supp. 2016).
 2	
      § 46-1,143.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
           FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                         Cite as 297 Neb. 999
natural resources districts: the Upper Republican Natural
Resources District, the Middle Republican Natural Resources
District, and the Lower Republican Natural Resources District.
Each natural resources district (NRD), along with the other
NRD’s in Nebraska, was created by statute3 to develop and
conserve the state’s natural resources, including its ground
water and surface water.4
   In 2004, portions of the Republican River Basin were
declared “fully appropriated.”5 When a river basin is deter-
mined to be fully appropriated, Neb. Rev. Stat. § 46-715 (Cum.
Supp. 2016) of the Nebraska Ground Water Management and
Protection Act provides that the NRD’s encompassing the
basin and the Department of Natural Resources (Department)
shall jointly develop an integrated management plan (IMP) to
achieve and sustain a balance between water uses and water
supplies for the long term.
   In December 2015, the Republican River Basin NRD’s
adopted, and the Department approved, IMP’s that pro-
vided for a 20-percent reduction in ground water pumping
in the Republican River Basin area. Before these IMP’s
were adopted and approved, previous IMP’s provided for a
25-­percent reduction in ground water pumping. Thus, the new
IMP’s allow for 5 percent more ground water pumping than
the previous ones.6
   In January 2016, FCID filed a petition for review under
the Administrative Procedure Act,7 challenging the newly
approved IMP’s on constitutional and other grounds. In
the petition, FCID alleges that the IMP’s violate the U.S.

 3	
      Neb. Rev. Stat. § 2-3203 (Reissue 2012).
 4	
      Neb. Rev. Stat. § 2-3229 (Reissue 2012).
 5	
      Frenchman-Cambridge Irr. Dist. v. Dept. of Nat. Res., 281 Neb. 992, 996,
      801 N.W.2d 253, 257 (2011).
 6	
      See Kansas v. Nebraska, ___ U.S. ___, 135 S. Ct. 1042, 191 L. Ed. 2d 1      (2015).
 7	
      See Neb. Rev. Stat. § 84-901 et seq. (Reissue 2014).
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                 Nebraska Supreme Court A dvance Sheets
                         297 Nebraska R eports
           FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                         Cite as 297 Neb. 999
Constitution’s Compact Clause,8 Commerce Clause,9 Equal
Protection Clause,10 and Due Process Clause,11 as well as
provisions of the Nebraska Constitution and the Republican
River Compact. As defendants in the suit, FCID listed the
Department, the director of the Department, the Republican
River Basin NRD’s, and the Attorney General.
   In March 2016, the defendants filed a motion to dismiss
pursuant to § 6-1112(b)(1) and (6) for lack of subject matter
jurisdiction and for failure to state a claim upon which relief
can be granted. A hearing on the matter was held on July 14.
   On November 3, 2016, the district court issued an order
granting the motion to dismiss. The district court found that
there was subject matter jurisdiction, but dismissed the peti-
tion for failure to state a claim upon which relief could
be granted.
   From that order, FCID appeals and the defendants
cross-appeal.

                  ASSIGNMENTS OF ERROR
   Although FCID agrees with the district court that it had sub-
ject matter jurisdiction, FCID assigns that “the basis on which
it found jurisdiction was not completely correct.” FCID also
assigns, combined and restated, that the district court erred in
finding that its petition failed to state a claim upon which relief
could be granted and in failing to find that the IMP’s were
invalid on constitutional and statutory grounds.
   The defendants cross-appeal and assign, combined and
restated, that the district court erred in finding that FCID had
standing, that the court had subject matter jurisdiction, and that
the IMP’s are “‘rules and regulations.’”

 8	
      U.S. Const. art. I, § 10, cl. 3.
 9	
      Id., § 8, cl. 3.
10	
      U.S. Const. amend. 14.
11	
      Id.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
           FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                         Cite as 297 Neb. 999
                   STANDARD OF REVIEW
   [1] A district court’s grant of a motion to dismiss on the
pleadings is reviewed de novo, accepting the allegations in
the complaint as true and drawing all reasonable inferences in
favor of the nonmoving party.12

                            ANALYSIS
   [2,3] Before proceeding to the legal issues presented for
review, it is the duty of an appellate court to determine whether
it has jurisdiction over the matter before it.13 FCID claims that
the district court, acting as an intermediate appellate court,
erred when it considered and granted the defendants’ motion to
dismiss for lack of subject matter jurisdiction. However, lack
of subject matter jurisdiction may be raised at any time by any
party or by the court sua sponte.14
   [4] In this case, the State has raised two issues regarding
subject matter jurisdiction: whether FCID has standing to chal-
lenge the IMP’s15 and whether the district court had subject
matter jurisdiction under § 46-750 or § 84-911(1). Because we
conclude that FCID lacks standing to challenge the IMP’s, we
do not reach the second issue. An appellate court is not obli-
gated to engage in an analysis that is not necessary to adjudi-
cate the case and controversy before it.16
   [5,6] To have standing, a litigant first must clearly demon-
strate that it has suffered an injury in fact.17 That injury must

12	
      Zapata v. McHugh, 296 Neb. 216, 893 N.W.2d 720 (2017).
13	
      Steven S. v. Mary S., 277 Neb. 124, 760 N.W.2d 28 (2009).
14	
      Davis v. Choctaw Constr., 280 Neb. 714, 789 N.W.2d 698 (2010).
15	
      See In re Invol. Dissolution of Wiles Bros., 285 Neb. 920, 924, 830
      N.W.2d 474, 478 (2013) (“[t]he defect of standing is a defect of subject
      matter jurisdiction”).
16	
      Selma Development v. Great Western Bank, 285 Neb. 37, 825 N.W.2d 215      (2013).
17	
      Central Neb. Pub. Power Dist. v. North Platte NRD, 280 Neb. 533, 788
      N.W.2d 252 (2010).
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
            FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                          Cite as 297 Neb. 999
be concrete in both a qualitative and temporal sense.18 A com-
plainant must allege an injury to itself that is distinct and pal-
pable, as opposed to merely abstract, and the alleged harm must
be actual or imminent, not conjectural or hypothetical.19
   FCID claims it has standing because the IMP’s, which
allow for increased ground water pumping, will deprive it of
waters that would otherwise be available for its operations.
In its petition for review, FCID alleges in part that increased
ground water pumping will “interfere with stream recharge
and flow . . . and [will] diminish surface waters otherwise
subject to capture and diversion for use by FCID to fill its
priority flow permits.” FCID further alleges that the reduced
streamflow will cause it to have to modify its budget and
operations and to “attempt to negotiate for relief [for default-
ing] from its obligations to [the Department of the Interior]
and [the Bureau of Reclamation].”
   We have previously considered the issue of standing in the
water dispute case of Central Neb. Pub. Power Dist. v. North
Platte NRD.20 In that case, we held that an irrigation district
did not adequately allege how its particular water use inter-
est had been injured by an order of an NRD when it merely
alleged that the order would cause a reduced water supply.
In other words, the irrigation district failed to state how a
reduced water supply would cause it harm. Here, however,
FCID has additionally alleged that the reduced water supply
would cause it to have to modify its budget and operations and
to negotiate for relief for breaching its contracts. Thus, FCID
argues that this case is distinguishable from Central Neb. Pub.
Power Dist., because its petition contains more specific allega-
tions of harm than those in that case.
   However, although FCID alleges more specific allega-
tions of harm than those alleged in Central Neb. Pub. Power

18	
      Id.19	
      Id.20	
      Id.                                - 1005 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
          FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                        Cite as 297 Neb. 999
Dist., that additional alleged harm does not occur unless the
IMP’s actually decrease the water supply. And, as the defend­
ants point out, the IMP’s do not by themselves cause more
ground water to be pumped. Instead, IMP’s are simply jointly
developed plans for how water will be managed.21 Although
the IMP’s set forth the water controls that may be employed
in times of water shortage, the IMP’s themselves do not
actually implement the controls. Instead, for those controls
to be implemented, the NRD’s must determine that such
controls are necessary and issue subsequent orders pursuant
to § 46-715 and Neb. Rev. Stat. §§ 46-718(2) and 46-739
(Reissue 2010).
   This conclusion can be drawn not only from the three
statutory sections above, but from the IMP’s themselves. For
example, within the IMP developed by the Department and
the Middle Republican NRD, it states, “In accordance with
Neb. Rev. Stat. § 46-715, one or more of the ground water
controls authorized by Neb. Rev. Stat. § 46-739 and Neb. Rev.
Stat. § 46-740 shall be adopted for the purpose of implement-
ing this plan.” In the IMP developed by the Department and
the Upper Republican NRD, as well as the IMP developed
by the Department and the Lower Republican NRD, it states
that “[t]he [NRD] will utilize the ground water controls as
provided by Neb. Rev. Stat. §§ 46-715, 46-739, and 46-740
to form the Ground Water Controls component of this IMP.”
Section 46-739 authorizes the NRD to issue the actual order
that would limit the water usage by appropriators.
   Before orders are issued pursuant to § 46-739, the IMP’s
contemplate that reviews of the water usage must be neces-
sary. All of the IMP’s at issue state that the “ground water
depletions are maintained within their portion of Nebraska’s
Allowable Ground Water Depletions as computed through
use of the Republican River Compact Administration Ground
Water Model” and that “voluntary reductions in baseline

21	
      See § 46-715.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
           FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                         Cite as 297 Neb. 999
pumping volumes will continue to be pursued by the [NRD]
with the incentive of limiting the level of long-term manage-
ment actions that are necessary during Compact Call Years.”
Finally, under the “Compliance Standards” section of each
IMP, it states that “[o]n an annual basis the [Department] and
[NRD] shall reexamine the sufficiency and effectiveness of the
Compliance Standards to determine if amendments or modifi-
cations are necessary to ensure the State’s compliance with the
[Final Settlement Stipulation] and Compact.” These examples
reflect that the IMP’s call for an annual review and that based
upon the review, additional orders could be issued as needed.
If and when such orders are issued, FCID would then have the
right to seek judicial review depending upon the issue in ques-
tion and the nature of the order.
   Our conclusion that FCID has failed to show that the
IMP’s have caused an injury-in-fact is also supported by the
Eighth Circuit’s decision in Sierra Club v. Robertson.22 That
case involved a challenge to a land and resource management
plan under the National Forest Management Act of 1976. In
Sierra Club, the plaintiffs challenged the plan, alleging that
the amount and method of timber harvesting permitted by the
plan caused environmental or aesthetic harm, in violation of
the National Forest Management Act of 1976 and the National
Environmental Policy Act of 1969. But because the latter act
required an additional stage of site-specific analysis before
any timber could actually be cleared, the Eighth Circuit held
that the asserted injury was not sufficiently imminent at the
initial forest planning stage to create an injury in fact and that
thus, the plaintiffs failed to establish standing.23 Similarly,
here, FCID’s asserted injury is not sufficiently imminent
because in order for the water controls set forth in the IMP’s
to be implemented, the NRD would have to determine that
such controls were necessary and issue subsequent orders.

22	
      Sierra Club v. Robertson, 28 F.3d 753 (8th Cir. 1994).
23	
      Id.                                    - 1007 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
          FRENCHMAN-CAMBRIDGE IRR. DIST. v. DEPT. OF NAT. RES.
                        Cite as 297 Neb. 999
Accordingly, we conclude that FCID has failed to establish
standing and that as a result, this court lacks jurisdiction.24
Therefore, we dismiss the appeal.
   Because we conclude that FCID lacks standing to chal-
lenge the IMP’s, we need not reach the second jurisdic-
tional question.25
                          CONCLUSION
   For the foregoing reasons, we conclude that FCID lacked
standing to challenge the IMP’s and that the district court
lacked jurisdiction over the case. As a result, we also lack
jurisdiction and dismiss the appeal and cross-appeal and hereby
vacate the order of the district court for lack of jurisdiction.
                                         Vacated and dismissed.
   Stacy, J., not participating.

24	
      See Landrum v. City of Omaha Planning Bd., ante p. 165, 899 N.W.2d 598      (2017).
25	
      See Johnson v. Nelson, 290 Neb. 703, 861 N.W.2d 705 (2015) (appellate
      court is not obligated to engage in analysis that is not necessary to
      adjudicate case and controversy before it).
